      Case 2:18-cv-02329-DDC-KGG Document 15 Filed 10/29/18 Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

SCOTT MOORE, et al.,                            )
                                                )
                       Plaintiffs,              )
                                                )
       v.                                       )       Case. No. 18-cv-2329-CM-KGG
                                                )
KRIS W. KOBACH,                                 )
                                                )
                       Defendant.               )
                                                )


      DEFENDANT’S REPLY TO PLAINTIFFS RESPONSE IN OPPOSITION TO
                   DEFENDANT’S MOTION TO DISMISS

       COMES NOW the Defendant, Kris Kobach, and submits the following arguments and

authorities in reply to Plaintiffs opposition to his motion to dismiss Plaintiffs Complaint for

failure to state a claim upon which relief can be granted.

                                     NATURE OF THE CASE

       Plaintiffs are three Kansas residents and registered voters. They filed this suit against

Kris Kobach in his official capacity as Kansas Secretary of State (“KSOS”) and in his individual

capacity (“Kobach”). Their complaint asserts two causes of action: Count 1 pursuant to 42 USC

§1983 for violations of their Constitutional right to informational privacy; and Count 2 for

violations of KSA 75-3520.

                           PLAINTIFFS STATEMENT OF FACTS

       Plaintiffs statement of facts relies, in part, on paragraphs 55, 56, 69, 70, 72, 73, 75, and

86 of the Complaint. Those allegations are made “on information and belief” and therefore are

not deemed true for purposes of deciding the pending motion.



                                    Scott Moore, et al. v. Kris Kobach
                                 U.S. District Court Case No. 18-cv-2329
                                                Page 1 of 7
      Case 2:18-cv-02329-DDC-KGG Document 15 Filed 10/29/18 Page 2 of 7




                             ARGUMENTS AND AUTHORITIES

                                        Standard of Review

       A complaint must contain enough facts to state a claim for relief that is plausible on its

face. Bell Atlantic Corp. v. Twombly, 500 U.S. 544, 555-56, 127 S. Ct. 1955 (2007). “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 678, 129 S. Ct. 1937 (2009).

       The court need not accept as true those allegations that state only legal conclusions or rest

on mere speculation, conjecture, or surmise. Iqbal, 556 U.S. at 678; See Southway v. Central

Bank of Nigeria, 149 F. Supp. 2d 1268, 1274 (D. Colo. 2001). Likewise, allegations made “upon

information and belief” are conclusory allegations which are not accepted as true, unless the

complaint also alleges specific facts which form the basis of the belief. Jackson-Cobb v Sprint

United Management, 173 F.Supp.3d 1139, (D.Colo 2016); Montoya v OFriel, 2017 WL 5891757

at *7 (D. New Mexico Nov. 27, 2017)

                                           42 USC §1983

                  There is no Constitutional Right to Informational Privacy

       The United States Supreme Court has never held that there is a constitutional right to

informational privacy. In National Aeronautics and Space Admin v Nelson, 562 U.S. 134, 131

S.Ct. 746, 178 L.Ed.2d 667 (2011) the Court explained that any statements in prior decisions

regarding a constitutional protection against government disclosure of personal information were

dicta. The Court further explained that in Whalen v Roe, 429 U.S. 589, 97 S.Ct. 869, 51 L.Ed.2d

64 (1977) and Nixon v Administrator of General Services, 433 U.S. 425, 97 S.Ct. 2777, 53

L.Ed.2d 867 (1977), it assumed, without deciding, that the constitutional right to informational

                                    Scott Moore, et al. v. Kris Kobach
                                 U.S. District Court Case No. 18-cv-2329
                                                Page 2 of 7
      Case 2:18-cv-02329-DDC-KGG Document 15 Filed 10/29/18 Page 3 of 7




privacy alleged in those cases existed. The Court noted that since Whalen and Nixon “[N]o other

decision has squarely addressed a constitutional right to informational privacy.” 562 U.S. at 146

and that it would decide Nelson on the same basis. “We assume, without deciding, that the

Constitution protects a privacy right of the sort mentioned in Whalen and Nixon.” 562 U.S. at

138. “As was our approach in Whalen, we will assume for present purposes that the

Government's challenged inquiries implicate a privacy interest of constitutional significance.”

562 U.S. at 147. In all three cases the Court held that the challenged conduct would not violate

any assumed right to informational privacy.

       In his concurrence in Nelson, Justice Scalia stated: “A federal constitutional right to

“informational privacy” does not exist.” 562 U.S. at 160; “In sum, I would simply hold that there

is no constitutional right to “informational privacy.”” 562 U.S. at 161; “The Court's sole

justification for its decision to “assume, without deciding” is that the Court made the same

mistake before—in two 33–year–old cases” 562 U.S. at 162. “Whalen and Nixon created an

uncertainty that the text of the Constitution did not contain and that today's opinion perpetuates.”

562 U.S. at 162.

       The majority opinion clarified that the Court intended to leave the question unresolved:

“The opinions concurring in the judgment disagree with this approach and would instead provide

a definitive answer to the question whether there is a constitutional right to informational

privacy. Post, at 766 – 767 (opinion of SCALIA, J.); post, at 764 (opinion of THOMAS, J.). One

of these opinions expresses concern that our failure to do so will “har[m] our image, if not our

self-respect,” post, at 767 (SCALIA, J.), and will cause practical problems, post, at 767 – 768.

There are sound reasons for eschewing the concurring opinions' recommended course.” 562 U.S.

at 147 n.10.

                                   Scott Moore, et al. v. Kris Kobach
                                U.S. District Court Case No. 18-cv-2329
                                               Page 3 of 7
      Case 2:18-cv-02329-DDC-KGG Document 15 Filed 10/29/18 Page 4 of 7




       Recently in Leiser v Moore, 903 F.3d 1137 (10th Cir. 2018), the 10th Circuit recognized

that “More recently, however, the Supreme Court has made clear that the existence of such a

right is an open question…” 903 F.3d at 1141. “Much more importantly, in 2011 the Supreme

Court made clear that any statements in its precedents regarding a constitutional protection

against government disclosure of personal information were dicta.” 903 F.3d at 1141. “The

Supreme Court has stated that this is an open question—it has never held that there is a

constitutional right to prevent government disclosure of private information.” 903 F.3d at 1144.

However, the Court decided the case before it without resolving the “open question”: “This is not

to say that our precedents on this issue are incorrect or that they have been overruled. That is a

matter we need not decide on this appeal.” 903 F.3d at 1144.

       Therefore, because the United States Supreme Court has never held that there is a

constitutional right to prevent government disclosure of private information, Count 1 fails to

state a claim upon which relief can be granted.

                          Defendant is entitled to Qualified Immunity

       Plaintiffs do not contest this point: “Plaintiffs do not claim Secretary Kobach is liable in his

individual capacity for violating their Fourteenth Amendment privacy rights.” (Doc. 14, p.13)

                                            KSA 75-3520

                                  This Court Lacks Jurisdiction

       Plaintiffs present no argument in opposition.

              This Court Should Decline to Exercise Supplemental Jurisdiction

       Plaintiffs present no argument in opposition.




                                    Scott Moore, et al. v. Kris Kobach
                                 U.S. District Court Case No. 18-cv-2329
                                                Page 4 of 7
      Case 2:18-cv-02329-DDC-KGG Document 15 Filed 10/29/18 Page 5 of 7




                                  KSA 75-3520 does not apply

       KSA 75-3520(a)(1) applies to “documents available for public inspection or copying”.

The list or spreadsheet of 945 individuals who are possibly registered to vote in both Kansas and

Florida sent by email from the Office of the Kansas Secretary of State to the Florida Department

of State Division of Elections is not a document made available for public inspection or copying

by KSOS. Plaintiffs argue that voter registration books and voter registration lists are publicly

available under the Kansas Open Records Act. That does not make a spreadsheet identifying

individuals who may be registered to vote in two states sent from Office of the Kansas Secretary

of State to the Florida Department of State Division of Elections, containing some of the

information also contained in voter registration applications and records, a document available

for public inspection under KSA 75-3520.

       Plaintiffs also argue that disclosure of public records to the federal government or to

other state governments are still public disclosures under Kansas open records laws. As

authority for that proposition, plaintiffs claim “the Attorney General has specifically identified

that giving Kansas voter data to the federal government would be considered a disclosure to “any

person” under KORA. Attorney General Opinion No. 2017-10, at 2” (Doc. 14, p.13). However,

Attorney General Opinion No. 2017-10 does not address disclosure to the federal government or

other state governments. It simply opines that, under KORA, any person may inspect public

records, including persons who work for the government.

       Therefore, the Office of the Kansas Secretary of State did not violate KSA 75-3520 by

sending that list as an email attachment to the Florida Department of State Division of Elections

in 2013; and Kris Kobach individually did not violate KSA 75-3520 when the Florida

Department of State Division of Elections released that email four years later.

                                   Scott Moore, et al. v. Kris Kobach
                                U.S. District Court Case No. 18-cv-2329
                                               Page 5 of 7
      Case 2:18-cv-02329-DDC-KGG Document 15 Filed 10/29/18 Page 6 of 7




                                         CONCLUSION

       As shown by the above arguments and authorities, and those set forth in Defendant’s

brief in support of his Motion to Dismiss, Plaintiffs Complaint fails to state a claim upon which

relief can be granted, and should be dismissed.

       WHEREFORE, for the above and foregoing reasons, Defendant Kris Kobach respectfully

request this motion be granted an order entered dismissing plaintiffs complaint, and for such

other relief as the court deems just and equitable.




                                               Respectfully submitted,

                                               OFFICE OF ATTORNEY GENERAL
                                               DEREK SCHMIDT

                                               /s/ Stanley R. Parker
                                               Stanley R. Parker, KS #10971
                                               Assistant Attorney General/Trial Counsel
                                               120 SW 10th Avenue, 2nd Floor
                                               Topeka, Kansas, 66612-1597
                                               Phone: (785) 368-8423
                                               Fax: (785) 291-3767
                                               stanley.parker@ag.ks.gov
                                               Attorney for Defendant Kris Kobach




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of October, 2018, the above and foregoing
DEFENDANT’S REPLY TO PLAINTIFFS RESPONSE IN OPPOSITION TO
DEFENDANT’S MOTION TO DISMISS was electronically filed with the Clerk of the Court
using the CM/ECF system, which sent electronic notice to counsel of record:



                                   Scott Moore, et al. v. Kris Kobach
                                U.S. District Court Case No. 18-cv-2329
                                               Page 6 of 7
      Case 2:18-cv-02329-DDC-KGG Document 15 Filed 10/29/18 Page 7 of 7




Lauren Bonds
ACLU Foundation of Kansas
6701 W. 64th St., Suite 210
Overland Park, KS 66202

Zal K. Shroff
ACLU Foundation of Kansas
151 N. Market Street, Ste. 1725
Wichita, KS 67202

Mark P. Johnson
Dentons US LLP
4520 Main Street, Suite 1100
Kansas City, MO 64111
Attorneys for Plaintiffs



                                              /s/ Stanley R. Parker
                                              Stanley R. Parker




                                  Scott Moore, et al. v. Kris Kobach
                               U.S. District Court Case No. 18-cv-2329
                                              Page 7 of 7
